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14

15                                UNITED STATES DISTRICT COURT

16                                       DISTRICT OF NEVADA

17     ORACLE INTERNATIONAL CORP., a                    Case No. 2:14-cv-01699-MMD-DJA
       California corporation, and ORACLE
18     AMERICA, INC., a Delaware corporation,           ORACLE INTERNATIONAL
                                                        CORPORATION AND ORACLE
19                   Plaintiffs/Counterdefendants,      AMERICA, INC.’S RESPONSE TO
             v.                                         RIMINI’S DAUBERT MOTION TO
20                                                      EXCLUDE PROPOSED EXPERT
       RIMINI STREET, INC., a Nevada corporation,       WITNESS TESTIMONY
21     and SETH RAVIN, an individual,
22                   Defendants/Counterclaimants.
                                                        REDACTED PUBLIC VERSION
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                      ORACLE’S RESPONSE TO RIMINI’S DAUBERT MOTION
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 1           Plaintiffs/Counterdefendants Oracle International Corp. and Oracle America, Inc.

 2    (“Oracle”) hereby oppose Rimini Street, Inc. and Seth Ravin’s (“Rimini”) motion to exclude certain

 3    opinions of Oracle experts Dr. Patrick McDaniel, Mr. John Cauthen, Mr. Paul Pinto, Ms. Elizabeth

 4    Dean, and Ms. Barbara Frederiksen-Cross (“Rimini Daubert”). Rimini concedes that each of

 5    Oracle’s experts is qualified and reliable—Rimini has not moved to prevent any of them from

 6    testifying. To the extent that Rimini seeks to exclude specific opinions by Oracle’s qualified

 7    experts, Rimini’s motion is rife with legal error, again attempts to reargue contentions it has already

 8    lost (in some instances many times before), and is factually inaccurate. Rimini’s motion to exclude

 9    should be denied.

10                                           LEGAL STANDARD

11           Where an expert’s report is reliable and relevant, factual disputes cannot support a Daubert

12    motion as they are “best settled by a battle of the experts before the fact finder, not by judicial

13    fiat.” City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1048-49 (9th Cir. 2014); see id. at

14    1049 (“Where two credible experts disagree, it is the job of the fact finder, not the trial court, to

15    determine which source is more credible and reliable.”) (citation omitted). “Under Daubert, the

16    district judge is ‘a gatekeeper, not a fact finder,’” and is concerned only with the methodology, “not

17    the conclusion to which the evidence would lead.” Primiano v. Cook, 598 F.3d 558, 564-65 (9th

18    Cir. 2010), as amended (Apr. 27, 2010) (citation omitted). “When an expert meets the threshold

19    established by Rule 702 as explained in Daubert, the expert may testify and the jury decides how

20    much weight to give that testimony.” Id. at 565. Under the Ninth Circuit’s “liberal” approach to

21    Rule 702, expert testimony should generally be “attacked by cross examination, contrary evidence,

22    and attention to the burden of proof, rather than excluded.” Carlson v. Sam’s West, Inc., 2022 WL

23    428551, at *2 (D. Nev. Feb. 2, 2022).

24                                               ARGUMENT

25    I.     BARBARA FREDERIKSEN-CROSS’S OPINIONS SHOULD NOT BE
             EXCLUDED.
26

27           Rimini’s motion to exclude sections of Ms. Frederiksen-Cross’s expert opinion is not a

28    proper Daubert motion and should be denied. Rimini does not dispute that Ms. Frederiksen-Cross’s
                                              1
                        ORACLE’S RESPONSE TO RIMINI’S DAUBERT MOTION
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 1    opinion—including the sections Rimini seeks to exclude—is relevant or that her methodology is

 2    reliable—which are the only relevant inquiries under Daubert. Daubert v. Merrell Dow Pharms.,

 3    Inc., 509 U.S. 579, 597 (1993). Instead, Rimini purports to identify four legal errors underlying

 4    portions of her opinion. But Rimini is the one mistaken on the law—as this Court already has held

 5    on multiple occasions.

 6           A.      The law of the case bars Rimini’s arguments on derivative works.

 7           Rimini’s lead argument—that Ms. Frederiksen-Cross used the wrong definition for

 8    derivative works—already has been rejected by this Court.              Rimini concedes as much,

 9    “acknowledg[ing] that on summary judgment this Court” applied the definition of derivative works

10    relied on by Ms. Frederiksen-Cross and “subsequently denied Rimini’s motion to certify that ruling

11    for interlocutory appeal.” Rimini Daubert at 22. On summary judgment, this Court faithfully

12    applied Micro Star v. Formgen Inc., 154 F.3d 1107, 1112 (9th Cir. 1998), to hold that a Rimini

13    update may be an infringing derivative work “even if the individual update contained only Rimini

14    written expression,” because if “it only interacts and is useable with PeopleSoft and it was designed

15    using Oracle’s utility tools software, it substantially incorporated [PeopleSoft] protected material.”

16    ECF No. 1253 (“MSJ Order”) at 52-53. Rimini does not dispute that Ms. Frederiksen-Cross relies

17    on this definition of derivative works. Rimini Daubert, Ex. C ¶¶ 179-80.1 Accordingly, Rimini’s

18    Daubert challenge is a procedurally improper motion for reconsideration barred by the law of the

19    case doctrine. See In re Flashcom, Inc., 503 B.R. 99, 128–29 (C.D. Cal. 2013), aff’d, 647 F. App’x

20    689 (9th Cir. 2016) (law of the case forbids a motion in limine on issue already resolved at summary

21    judgment so a “dissatisfied litigant c[annot] continually seek reconsideration and prevent finality

22    to the judgment”).

23           B.      Ms. Frederiksen-Cross’s opinions regarding cross-use are not contrary to
                     law.
24

25           Rimini next takes issue with what it describes as Ms. Frederiksen-Cross’s opinions

26    regarding cross-use. In doing so, Rimini both misstates what this Court held in its summary

27
      1
       Unless otherwise noted, citations to letter exhibits reference the corresponding exhibits to the
28
      Declaration of Eric Vandevelde at ECF No. 1384-1 et seq.
                                                        2
                       ORACLE’S RESPONSE TO RIMINI’S DAUBERT MOTION
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 1     judgment order and Ms. Frederiksen-Cross’s opinions.

 2            Ms. Frederiksen-Cross’s testimony concerning cross-use tracks the Court’s statement of the

 3     applicable law in its summary judgment ruling and jury instructions in Rimini I concerning cross-

 4     use. She presents instances of cross-use because, to develop updates and fixes, Rimini copies

 5     Oracle Software in one customer environment and does that for the benefit of many other

 6     customers. Ms. Fredrickson-Cross’s testimony concerning cross use relies on the provisions of

 7     Oracle licenses limiting use of the software solely to a customer’s internal data processing

 8     operations, and therefore not for other customers’ operations. Based on this provision, on summary

 9     judgment, the Court held that Rimini was infringing Oracle copyrights where environments

10     associated with Rimini customer City of Flint were “used to develop and test software updates for

11     the City of Flint and other Rimini customers with similar software licenses.” Rimini I, ECF No.

12     474 at 13 (emphasis added); see also MSJ Order at 45 (“Campbell Soup’s license allows the

13     licensee to use the software solely for its own ‘internal data processing operations’”). The Court

14     accordingly gave the jury the following instruction at trial: “The PeopleSoft software licenses

15     prohibited Rimini Street from copying or preparing derivative works from PeopleSoft software

16     other than to support the specific licensee’s own internal data processing operations on the

17     licensee’s own computer systems. Any copying or preparation of derivative works outside the

18     scope of those limitations was prohibited by the license agreements.” Rimini I, ECF No. 880 at 30.

19     Ms. Fredrickson-Cross’s conclusion tracks with the Court orders.

20            In the paragraphs of Ms. Frederiksen-Cross’s reports that Rimini has highlighted for

21     exclusion, Ms. Frederiksen-Cross’s opinions closely track this Court’s rulings. Ms. Frederiksen-

22     Cross explains that

23

24                  Ex. D ¶ 22 (emphasis added); id. ¶¶ 21-23. She further explains that EBS updates

25

26

27                 Ex. C. ¶¶ 382-83 (emphasis added); id. ¶¶ 390-94; see also Ex. D ¶¶ 24-27 (EBS

28     prototyping discussion). Her JD Edwards cross-use opinions similarly rely on
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 1     Corp. v. Bolton, 212 F.3d 477, 482-83 (9th Cir. 2000) (subconscious copying of song from memory

 2     does not excuse infringement), overruled on other grounds by Skidmore v. Zeppelin, 952 F.3d 1051

 3     (9th Cir. 2020). Even Rimini’s expert Professor Astrachan concedes that memorizing and retyping

 4     is not “know-how.” Declaration of Benjamin Smith (“Smith Decl.”), Ex. 1 (Astrachan Depo.) 126-

 5     27. Nor is it even feasible to “memorize” and later reproduce the complicated code in this case.

 6            Moreover, Rimini’s challenge is overbroad. Rimini claims that its Daubert challenge is

 7     limited to excluding Ms. Frederiksen-Cross’s opinions “that the act of developing or testing an

 8     update in a ‘prototype’ client’s environment and then separately developing and testing the same

 9     or a similar update in other clients’ environments is ‘cross-use.’” Rimini Daubert at 25 n.6. But

10     this is a mischaracterization of the opinions that Rimini now seeks to exclude.

11            Finally, in Rimini I, this Court held Rimini in contempt where Rimini claimed it was merely

12     using know-how (as it claims here), but in actuality Rimini was testing and troubleshooting updates

13     for some customers using other customers’ environments. Rimini I, ECF No. 1548 at 27-29

14     (holding Rimini in contempt for using the environment of one customer that had not reported any

15     bug to “develop [] knowledge and know-how” and using that knowledge in a complaining

16     customer’s environment to fix the bug). Ms. Frederiksen-Cross

17     and, just as in Rimini I, Rimini cannot escape liability by using the manufactured term “know-how.”

18            C.      Rimini’s arguments on “analytic dissection” are wrong.

19            Rimini’s claim that Ms. Frederiksen-Cross did not conduct “analytic dissection” depends

20     on misapplication of Ninth Circuit case law, ignores the reality of what Ms. Frederiksen-Cross did

21     in her expert reports, and flies in the face of this Court’s prior orders finding that Ms. Frederiksen-

22     Cross has conducted analytic dissection.

23            Rimini implies in a footnote that Judge Hicks’s Rimini I Order holding Rimini in contempt

24     for willfully violating the injunction also held that Ms. Frederiksen-Cross’s opinions failed the Rule

25     702 standard for lack of analytic dissection. Rimini Daubert at 28 n.8 (citing Oracle, 2022 WL

26     112187, at *22). But the Court held exactly the opposite: her opinion in that case “conducted a

27     form of analytic dissection,” since it “considered the matching portions of the files and filtered for

28     unprotected expression.” Oracle USA, Inc. v. Rimini St., Inc., 2022 WL 112187, at *21 (D. Nev.
                                               6
                         ORACLE’S RESPONSE TO RIMINI’S DAUBERT MOTION
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 1     Jan. 12, 2022). The Rimini I order also noted her methodology was not undermined by Rimini’s

 2     arguments and found her “opinion[] helpful to [the Court’s] ultimate conclusions and therefore

 3     decline[d] to disqualify” it as an expert opinion. Id. The Court similarly should deny Rimini’s

 4     recycled Daubert motion against Ms. Frederiksen-Cross on analytic dissection.4

 5            First, analytic dissection is not required where there is direct evidence of literal copying.

 6     “Analytic dissection” refers to identifying “those elements of a work that are protectable” before

 7     comparing the substantial similarity of the accused work to the original work. Apple Computer,

 8     Inc. v. Microsoft Corp., 35 F.3d 1435, 1442-43 (9th Cir. 1994). When there is “literal similarity,”

 9     such identification and comparison is unnecessary. 4 Nimmer on Copyright § 13.03[A][2] (2019);

10     see also Bell v. Wilmott Storage Servs., LLC, 12 F.4th 1065, 1074 (9th Cir. 2021) (“As Professor

11     Nimmer explains, ‘[i]f such duplication is literal or verbatim, then clearly substantial similarity

12     exists’”); Antonick v. Elec. Arts, Inc., 841 F.3d 1062 (9th Cir. 2016) (noting that a plaintiff need

13     not prove infringement via substantial similarity and access when there is “direct evidence of

14     copying”); L.A. Printex Indus., Inc. v. Aeropostale, Inc., 676 F.3d 841, 846 (9th Cir. 2012), as

15     amended (June 13, 2012) (same); Brocade Commc’ns Sys., Inc. v. A10 Networks, Inc., 2012 WL

16     13170064, at *3 (N.D. Cal. July 13, 2012) (denying Daubert motion and noting

17     “abstraction/filtration/comparison test is not required where the alleged copying is literal code”).

18            Here, Ms. Frederiksen-Cross found that

19                                                                                                  . Ex. C

20     ¶¶ 279-282, 608-10, 614-16, 627, 663-64, 669, 673, 731-738, 740 (

21             ); Smith Decl., Ex. 2 (BFC Ex. SSS) (

22                                                                      ); Ex. R ¶¶ 21, 43. This is direct

23     evidence of copying for which analytic dissection is not needed under Ninth Circuit law.

24     4
         Prior to the contempt hearing, the Court denied Rimini’s motion in limine to exclude the
25     testimony of Ms. Frederickson-Cross, stating: “There can be no dispute that Ms. Frederiksen-
       Cross is an expert in forensic software analysis—she has 45 plus years of experience as a
26     software developer and consultant and is trained in forensic analysis of computer software in the
       context of copyright infringement. [Rimini I] ECF No. 1368-1-s ¶¶ 3-4. Her expert opinions have
27     been considered in Rimini II, among other cases in this Circuit and the Court sees no reason,
       based on her qualifications or experience, that her opinions should be excluded here.” Rimini I,
28
       ECF No. 1459 at 13.
                                                         7
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 1                Second, the idea that Ms. Frederiksen-Cross did not conduct the “proper” analytic

 2     dissection test is wrong. Experts performing analytic dissection are not required to follow one

 3     “formal” methodology. Computer Assocs. Int’l v. Quest Software, Inc., 333 F. Supp. 2d 688, 694

 4     (N.D. Ill. 2004); see also In re Countrywide Fin. Corp. Mortgage-Backed Secs. Litig. v.

 5     Countrywide Fin. Corp., 984 F. Supp. 2d 1021, 1036 (C.D. Cal. 2013). Here, Ms. Frederiksen-

 6     Cross

 7

 8                                       , and she considered functional code versus code that is expressive

 9     and has no programming rationale. For example, Rimini asserts Ms. Frederiksen-Cross did not

10     “filter out unprotectable elements” or analyze whether matching code was “protectable,” Rimini

11     Daubert at 27, but she did just that. See, e.g., Ex. C ¶¶ 279 (

12                                                      ), 282 (                                    ).   Ms.

13     Frederiksen-Cross also excluded files based on their lack of protected expression. E.g., Ex. R ¶¶

14     8, 48, 53 (

15

16                          ); Smith Decl., Ex. 3 (BFC Surrebuttal Ex. MM)

17                    ); Smith Decl., Ex. 4 (BFC Ex. MMM) (

18

19                    ). Ms. Frederiksen-Cross further attempted to apply Professor Astrachan’s flawed

20     method of analytic dissection and concluded that, even under his rubric, Rimini still copied

21     substantial amounts of Oracle’s protected expression.        Ex. R ¶¶ 9-27.     The idea that Ms.

22     Frederiksen-Cross did not apply analytic dissection when comparing Rimini files to Oracle code is

23     fiction.

24                Moreover, Ms. Frederiksen-Cross did not just “match” lines of code but gave her expert

25     opinion regarding whether there was “substantial similarity” between files, including based on

26     functionality. Ex. C ¶¶ 282, 338, 342, 345, 364, 640-41, 673, 803. That comparison is what analytic

27     dissection entails. See Skidmore, 952 F.3d at 1064 (operative question is whether infringing work

28     contains “substantial similarity in protectable expression”); Oracle, 2022 WL 112187, at *22
                                                 8
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 1     (analytic dissection is considering “matching portions of the files” and filtering “for unprotected

 2     expression”).

 3            Third, Rimini falsely asserts that another court excluded Ms. Frederiksen-Cross’s expert

 4     opinion “because she failed to perform analytic dissection.” Rimini Daubert at 27 (discussing

 5     DropzoneMS, LLC v. Cockayne, 2019 WL 7630788 (D. Or. Sept. 12, 2019)). That is a remarkable

 6     misstatement of DropzoneMS, which excluded her testimony because counsel proffered her expert

 7     opinions nearly “six months after the expert discovery deadline,” and the court concluded her

 8     opinions could not be offered as lay testimony under Rule 701. 2019 WL 7630788, at *5-7; see

 9     also id. at *7 (noting the burden of reliable methodology had not been met because the report “did

10     not even attempt to explain how either the UltraEdit text editor or Araxis Merge programs work—

11     likely because any attempt to do so would signal she is proffering expert testimony” rather than lay

12     testimony); id. at *14 (noting the plaintiff conceded “there is no ‘filtration analysis’ … because it

13     is not an expert report”). Rimini’s selective editing of these quotes to ignore the party’s attempt to

14     fit Ms. Frederiksen-Cross’s expert opinion into a supposedly lay declaration betrays the

15     inapplicability of DropzoneMS to this case. Furthermore, Rimini made the same argument in the

16     Daubert motion that it filed during the Rimini I contempt proceedings, Rimini I, ECF No. 1392 at

17     10-11, and again during its cross-examination of Ms. Frederiksen-Cross during the contempt

18     hearing, Rimini I, ECF No. 1537 (Tr. at 513:17-514:11). On each occasion, the Court denied

19     Rimini’s Daubert challenge. Rimini I, ECF Nos. 1459 at 13-14, ECF No. 1548 at 34.5

20            Finally, Rimini’s argument that Ms. Frederiksen-Cross cannot rely on her Surrebuttal

21     Report is wrong. It consists of a surgical dismantling of Professor Astrachan’s opinions. Ex. R ¶¶

22     6-18, 28-73 (explaining why Professor Astrachan’s myopic,

23                is flawed, his rebuttal exhibits are misleading or ignore

24                          , and why his other criticisms of Ms. Frederiksen-Cross’s Opening Report are

25     unfounded). And the paragraphs Rimini complains about show that the

26
       5
         DropzoneMS is also distinguishable because, there, the allegedly copied elements included “many
27     third-party and open-source packages” and did not provide direct evidence of copying. Id. at *14.
       Here, Ms. Frederiksen-Cross’s opinions demonstrate
28
                                               9
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 1     Professor Astrachan requests (which is not required) only “further illustrate[s]” Ms. Frederiksen-

 2     Cross’s opinion in her Opening Report that Rimini’s code was substantially similar to Oracle’s.

 3     See id. ¶¶ 22-27.

 4            Thus, the Surrebuttal Report is not, as Rimini claims, a “correction of [] oversights in” Ms.

 5     Frederiksen-Cross’s Opening Report; so Rimini’s out-of-circuit cases are inapposite. Rimini

 6     Daubert at 28 (quoting Ernst v. City of Chicago, 2013 WL 4804837, at *1 (N.D. Ill. Sept. 9, 2013);

 7     citing Ironshore Ins. Ltd. V. W. Asset Mgmt. Co., 2013 WL 2051863, at *2 (S.D.N.Y. May 15,

 8     2013)). The Ernst case makes clear that experts may file “surrebuttal expert report[s]” so long as

 9     they are limited “to the scope of the issues raised in the rebuttal reports.” 2013 WL 4804837, at

10     *1; id. at *4-5 (denying motion to strike surrebuttal expert reports because they were “at least

11     arguably, proper surrebuttal”).

12            In addition to citing no authority barring Oracle’s reliance on the Surrebuttal, Rimini has

13     waited too long to lodge a complaint regarding Ms. Frederiksen-Cross’s responses to Professor

14     Astrachan’s Rebuttal. The Surrebuttal was served on September 14, 2018—four years ago, and

15     prior to Ms. Frederiksen-Cross’s deposition. Rimini never sought any additional deposition

16     testimony regarding the Surrebuttal, and never moved to strike the report (or challenged it in any

17     way until now), yet the cases it relies on show a three-month delay in filing a motion to strike and

18     the ability to depose the expert remove any prejudice from the Surrebuttal and favor its

19     consideration. See Ernst, 2013 WL 4804837, at *4; see also Sherwin-Williams Co. v. JB Collision

20     Servs., Inc., 2015 WL 4742494, at *1 (S.D. Cal. Aug. 11, 2015) (motion to strike filed less than

21     month after supplemental report); Nazar v. Harbor Freight Tools USA Inc., 2020 WL 4730975, at

22     *2 (E.D. Wash. May 27, 2020) (motion to strike filed three days after supplemental report; motion

23     denied because supplement was justified).

24            D.      Rimini (not Ms. Frederiksen-Cross) misstates the DMCA standard.

25            Rimini’s final argument regarding Ms. Frederiksen-Cross’s opinions is a procedurally

26     improper dispositive motion on one of Oracle’s claims. Rimini makes legal arguments that could

27     have been, but were not, raised in its motion for summary judgment regarding the scope of the

28     Digital Millennium Copyright Act (DMCA). Cf. Hana Fin., Inc. v. Hana Bank, 735 F.3d 1158,
                                                10
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 1     1162 n.4 (9th Cir. 2013), aff’d, 574 U.S. 418 (2015) (“A motion in limine is not the proper vehicle

 2     for seeking a dispositive ruling on a claim, particularly after the deadline for filing such motions

 3     has passed.”). Rimini has waived these arguments—and, in any event, they are wrong.

 4            First, Rimini argues that a work that removes copyright management information (CMI)

 5     must be an exact copy of the original work, Rimini Daubert at 29, but the law is to the contrary—

 6     especially in the software context. Where a defendant “modifie[s] source code ‘substantially

 7     similar’ to Plaintiff’s copyrighted source code,” including by replacing the author’s name with its

 8     own, the defendant is liable under the DMCA. Enter. Tech. Holdings, Inc. v. Noveon Sys., Inc.,

 9     2008 WL 11338356, at *14-16 (S.D. Cal. July 29, 2008) (emphasis added); see also Empire Med.

10     Review Servs., Inc. v. CompuClaim, Inc., 326 F. Supp. 3d 685, 689-91 (E.D. Wis. 2018) (denying

11     summary judgment to defendant where it used the plaintiff’s source code “as a starting point” for

12     its software); Bounce Exch., Inc. v. Zeus Enter. Ltd., 2015 WL 8579023, at *1 (S.D.N.Y. Dec. 9,

13     2015) (DMCA claim stated where defendant sold software that directly reproduced “portions of

14     [plaintiff’s] code, structure, sequence, and organization”); Associated Press v. All Headline News

15     Corp., 608 F. Supp. 2d 454, 457-58, 462 (S.D.N.Y. 2009) (denying motion to dismiss DMCA claim

16     where the defendant news outlet found news stories online and republished them “either rewriting

17     the text or copying the stories in full” with the AP “author or copyright” information omitted). In

18     the Ninth Circuit, a “‘striking similarity’ between the works may give rise to a permissible inference

19     of copying” supporting a DMCA claim. Friedman v. Live Nation Merch., Inc., 833 F.3d 1180,

20     1188 (9th Cir. 2016). These cases support the commonsense position that a party may not copy a

21     software file, remove CMI, and then avoid DMCA liability by adding to the code.6

22            Even if Rimini’s reading of the DMCA were correct, Ms. Frederiksen-Cross’s Opening

23     Report identified several examples

24     6
         Rimini’s case implying that the infringing work should be an exact copy dealt with “images,” not
25     software. Kirk Kara Corp. v. W. Stone & Metal Corp., 2020 WL 5991503, at *6 (C.D. Cal. Aug.
       14, 2020). And its other case is inapposite, as it dealt with architecture plans and assumed that
26     scanning copyrighted plans constituted copying but noted there was “no evidence even suggesting
       that the CMI was removed.” Robert L. Stark Enters., Inc. v. Neptune Design Grp., LLC, 2017 WL
27     1345195, at *11 (N.D. Ohio Apr. 12, 2017); see also Frost-Tsuji Architects v. Highway Inn, Inc.,
       2015 WL 263556 (D. Hawai’i Jan. 21, 2015) (dealing with new design based on prior architect’s
28
       work—not exact copying of portions of software).
                                                       11
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 1     2014) (noting same, and holding there was evidence the defendant knew, or had reasonable grounds

 2     to know, CMI was removed as an image was cropped to remove the CMI).

 3              In any event, there is clearly evidence of removal (and thus distribution with knowledge of

 4     removal) here. Ms. Frederiksen-Cross notes

 5

 6           . Ex. C ¶ 549.

 7                                                                    id. ¶¶ 206-14. As just one example,

 8     Ms. Frederiksen-Cross analyzed files of

 9

10                                                                                 Id. ¶¶ 821-24 (including

11     screenshot). Ms. Frederiksen-Cross’s Report includes evidence of removal of CMI, and certainly

12     of distribution with knowledge of removal, so this motion should be denied.

13     II.      PAUL PINTO’S AVOIDED COST ANALYSIS AND OPINION THAT RIMINI
                COULD NOT OFFER A     DISCOUNT WITHOUT INFRINGEMENT
14              SHOULD NOT BE EXCLUDED.
15              In its Daubert motion challenging several of Mr. Pinto’s causation opinions, Rimini raises

16     arguments relating to the weight of his opinions, not their admissibility. First, Rimini misrepresents

17     Mr. Pinto’s reliance on another expert and on Rimini’s

18                                                                     figure. While Rimini may be able to

19     present its own causation evidence, that does not undermine the reliability of Mr. Pinto’s opinion.

20     Second, Rimini disagrees with Mr. Pinto’s expert conclusion that, based on

21                                                              would have made Rimini’s            discount

22     impossible. Again, Rimini may present contrary evidence at trial, but that does not undermine the

23     reliability of Mr. Pinto’s opinions.8

24              A.     Rimini identifies no reason to exclude Mr. Pinto’s avoided-costs analysis.

25              Rimini does not challenge Mr. Pinto’s qualifications as an expert, or the relevance of his

26
       8
         Rimini also attacks Mr. Pinto’s conclusion that Rimini’s          discount caused Oracle to lose
27     clients, incorrectly describing Mr. Pinto’s opinion as relating only to specific customers’ state of
       mind. Oracle’s response to this argument—and Rimini’s other arguments (against McDaniel and
28
       Cauthen) concerning so-called “state of mind” testimony are addressed below in Section V.
                                                        13
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 1     causation opinions to this case. Rather, Rimini attacks the reliability of Mr. Pinto’s avoided-costs

 2     analysis—i.e., his conclusion that Rimini’s

 3            Both of Rimini’s arguments against the reliability of that conclusion fail.

 4            First,

 5                                             Mr. Pinto went through six steps to come to this conclusion:

 6     (1) he reviewed the record and identified documents and testimony regarding Rimini’s efficiency

 7     and cost savings from infringing practices, (2) generated random samples of Rimini’s fixes and

 8     updates with the help of a statistician, (3) analyzed the fixes in the samples to calculate the time

 9     Rimini saved on each fix by cross-using using Function Point Analysis, a standard method of

10     analysis introduced by IBM in 1979 to estimate the costs of software development, (4) calculated

11     the average time saved with the help of a statistician, (5) used input from Ms. Frederiksen-Cross

12     regarding number of cross-uses to estimate total number of hours saved, and (6) used wage data to

13     calculate                                                                                       Ex. H

14     § 7.1.1 (summary of process); id. §§ 7.1.1.1-10 (more detailed explanation of every step). The

15     opinion does not attempt to calculate avoided labor costs from other infringement by Rimini and

16     therefore, in Mr. Pinto’s estimation, is conservative. Id. § 7.1.2.

17            The statistician who helped Mr. Pinto generate random samples of updates (step 2) and

18     average the time saved (step 4) is Dr. Levy—who served an expert report in this case, but who

19     Oracle has decided it need not call as an expert witness given the tight time constraints on trial

20     testimony. To be clear, Mr. Pinto does not rely on Mr. Levy’s expert report in any way, so all of

21     Rimini’s cases are inapposite. Rimini Daubert at 11 (citing TK-7 Corp. v. Est. of Barbouti, 993

22     F.2d 722, 731 (10th Cir. 1993), which limits a testifying expert’s ability to use the expert report of

23     another expert not called at trial, but not limiting reliance on absent expert’s opinions generally;

24     Villagomes v. Lab’y Corp. of Am., 2010 WL 4628085, at *4 (D. Nev. Nov. 8, 2010), permitting

25     experts to “rely on opinions of non-testifying experts as a foundation” but disallowing “parrot[ing]

26     the opinions of non-testifying experts”). Dr. Levy’s assistance in creating a random sample and

27     calculating a mean average is not expert testimony—and Mr. Pinto does not “parrot” any opinion

28     by Dr. Levy. See Villagomes, 2010 WL 4628085, at *4 (“a qualified expert may base his opinions
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 1     on facts or data made known to him if it is of a type reasonably relied upon by experts in the

 2     particular field in forming opinions or inferences on the subject”). Mr. Pinto adequately described

 3     his process in a manner that “can be … tested”: step 2 involves the creation of a random sample,

 4     and step 4 involves calculating an average. See Boyd v. City and Cty. of S.F., 576 F.3d 938, 945

 5     (9th Cir. 2009). His methodology is reliable, and the fact that Dr. Levy isn’t testifying is irrelevant.

 6            Second, Rimini claims that Mr. Pinto assumed it should take an engineer the same amount

 7     of time developing an update for Client A and Client B, which Rimini argues is in “conflict” with

 8     this Court’s MSJ Order. That claim misrepresents Judge Hicks’s order and Mr. Pinto’s opinion.

 9            At summary judgment, this Court did not hold that Rimini engineers gain increased

10     efficiency every update they create, and thus that the manner in which Rimini engineers actually

11     save time is not cross-use. Rather, the Court held there was a material dispute of fact that prohibited

12     summary judgment in favor of Rimini because Oracle presented evidence that Rimini was able to

13     increase its subsequent client update speed because it copied files with Oracle code to create updates

14     for Rimini clients—clear examples of cross-use. MSJ Order at 88. What Rimini engineers actually

15     did goes to the weight of the evidence—as this Court already held in finding a material dispute of

16     fact. Rimini can attempt to critique Mr. Pinto’s evidence before the jury if it wishes, but Mr. Pinto’s

17     testimony may not be excluded based on Rimini’s mere say-so.

18            Moreover, Mr. Pinto’s Report did assume increased efficiency, so Rimini’s argument is

19     based on a false premise. In Section 7.1.1.6, Mr. Pinto explains that, to be “conservative” about

20     how much time Rimini engineers were saving through cross-use, he excluded the “Plans &

21     Requirements” phase and the “Transition” phase from each client’s software development life

22     cycle. Ex. H at 71-74. Mr. Pinto excluded              of Rimini’s potentially infringing labor hours

23     from his calculations. Id. at 72. The other          of time is spent on design, coding, and testing—

24     tasks “specific to an individual customer” that could not be avoided absent infringing cross-use and

25     that could not be made more efficient through know-how or experience, especially given wide

26     variations in Oracle products, customer-specific modules, and the like. Id. at 73.

27

28
                                              15
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 1                                                                                                     . But

 2     even if it could, that evidence (and Mr. Pinto’s contrary opinions) should be presented to the jury.10
       III.    ELIZABETH DEAN’S HYPOTHETICAL NEGOTIATION MODEL AND
 3             CAUSATION OPINIONS SHOULD NOT BE EXCLUDED.
 4            Oracle proffers Ms. Dean as a damages expert. Rimini asserts that two aspects of Ms.

 5     Dean’s damages estimates are unreliable, but both challenges miss the mark. Rimini Daubert at 18.

 6     First, Rimini seeks to exclude Ms. Dean’s hypothetical negotiations model that partly forms the

 7     basis of her hypothetical license damages calculation. Rimini’s objection to Ms. Dean’s

 8     hypothetical negotiations model fails to recognize that Ms. Dean’s use of a license

 9                                                                        was not the sole license that she

10     relied on for her model and that her approach to valuation did not require her to use it as a

11     benchmark. Further, contrary to Rimini’s position, the royalty rate of the license

12          is not a component of Ms. Dean’s model. Second, Rimini objects to what it refers to as Ms.

13     Dean’s “general causation opinion.” Ms. Dean’s opinions concerning what caused Rimini’s

14     customers to leave Oracle are not based on her ipse dixit, but rather on Ms. Dean’s expert analysis

15     of the deposition testimony of numerous Rimini customers, as well as other evidence in the record.

16     Rimini’s contentions here may go to the weight of Ms. Dean’s challenged opinions, but not to their

17     admissibility. Rimini’s motion as to Ms. Dean’s opinions should be denied.

18            A.      Ms. Dean’s hypothetical negotiation model is reliable.

19            An expert’s opinions on hypothetical-license damages are admissible if they are not “unduly

20     speculative,” Williams v. Gaye, 895 F.3d 1106, 1129 (9th Cir. 2018). To meet this standard, an

21     expert need not “present evidence of benchmark agreements.” Oracle Corp. v. SAP AG, 765 F.3d

22     1081, 1093 (9th Cir. 2014). Thus, in Williams, the Ninth Circuit held that an award based on an

23     expert’s hypothetical-damages opinion was reasonable, despite there not being a previous

24
       10
25       Rimini also implies, though does not clearly state, that Mr. Pinto has had similar testimony
       excluded before. Not so. A district court in another circuit, McLane Co., Inc. v. ASG Techs. Grp.
26     Inc., 2019 WL 590081 (W.D. Tex. Jan. 2, 2019), excluded analysis that assumed the value of certain
       software was “priced solely by the number of sessions,” where suites actually could be “customized
27     by number of products, concurrent sessions, servers, and CPUs,” such that “[n]o evidence suggests
       the suites are priced solely by session.” Id. at *11. Mr. Pinto’s supplemental report in that case,
28
       based on the full complement of production materials, was not met with any exclusions.
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 1     benchmark license between the parties, because the expert used an “industry standard” and

 2     presented “extensive and specialized knowledge regarding the type of hypothetical license at

 3     issue.” 895 F.3d at 1129. As in Williams, Ms. Dean used an industry standard and applied her

 4     specialized expertise in her hypothetical negotiation model based on the income approach—an

 5     approach that Rimini has not argued is unreliable. Her resulting calculations were “objective” and

 6     the result of “examin[ing] the financial perspectives of both the willing buyer … and the willing

 7     seller at the hypothetical time of sale.” Jarvis v. K2 Inc., 486 F.3d 526, 534 (9th Cir. 2007).11

 8            Rimini’s arguments as to Ms. Dean’s hypothetical negotiation model are fundamentally

 9     flawed. Rimini is wrong in asserting that “Ms. Dean fails to provide any examples of other licenses

10     that do not involve intra-Oracle deals, despite there being numerous viable third-party support

11     businesses in the marketplace.” Rimini Daubert at 19. Ms. Dean cited to, and referenced, numerous

12     other licenses noting that

13                                                                                                .” Ex. B at

14     ¶ 44, n.319; see also Smith Decl., Ex. 5 (Dean Schedule 28) (l

15              ). Analyzing those fees led Ms. Dean to conclude that

16

17                                  Id. ¶ 45.

18            Moreover, Ms. Dean’s use                                                     is a reliable basis

19     for her opinion. Ms. Dean did not use

20

21                                                                                 Ex. B at ¶124. As noted

22     above, Rimini has not challenged Ms. Dean’s overall approach as unreliable.

23            Contrary to Rimini’s assertion, it is not “simply implausible to expect that the amount one

24     corporate component of Oracle pays another to license copyrighted works represents a reasonable

25     proxy for what a third-party competitor would agree to pay to Oracle in a hypothetical negotiation,”

26     Rimini Daubert at 19. That is precisely the standard that Oracle must demonstrate it meets in order

27     11
         Ms. Dean’s opinions here are not related to the expert’s proffered opinions in Oracle Corp. v.
       SAP AG. The expert there did not apply the income approach that Dean does here. Nor did the
28
       expert there use an industry standard license as part of his model. See 765 F.3d at 1093.
                                                        18
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 1     for the price of the license to be a valid transfer pricing arrangement under the tax laws. Under

 2     Treasury regulations, a license fee between affiliated entities must meet the “arm’s length

 3     standard”—a standard that is only met if “if the results of the transaction are consistent with the

 4     results that would have been realized if uncontrolled taxpayers had engaged in the same transaction

 5     under the same circumstances.’” Amazon.com, Inc. v. Comm’r, 934 F.3d 976, 980 (9th Cir. 2019)

 6     (citing Treas. Reg. § 1.482-1(b)(1)); see also Comm’r v. First Sec. Bank of Utah, N.A., 405 U.S.

 7     394, 400 (1972) (“The purpose of section 482 is to place a controlled taxpayer on a tax parity with

 8     an uncontrolled taxpayer, by determining according to the standard of an uncontrolled taxpayer.”).

 9                                                                                         Ex. B ¶ 138, n.

10     312.                                                                                      but rather

11     one that had to be, and was, based on a standard required by the tax laws

12            and that is nearly identical to the one courts in the Ninth Circuit use to estimate copyright

13     damages. See SAP AG, 765 F.3d at 1088 (“Hypothetical-license damages must be based on what

14     “a willing owner actually would have charged after negotiation with the buyer”).

15             Rimini also is incorrect in claiming that “Ms. Dean’s analysis fails to demonstrate, as is

16     required by the case law, that

17                                            .” Rimini Daubert at 20 (internal quotation marks omitted).

18     Ms. Dean did exactly that—spending six full pages of her report discussing the benefits that Rimini

19     would receive from entering a license agreement with Oracle. Ex. B 75-82. Ms. Dean noted that

20     these benefits would include

21                                                                       and then went on to analyze and

22     quantify those many benefits based on her expertise and the available data. Id. ¶ 146. Ninth Circuit

23     precedent is clear that Ms. Dean “need not demonstrate that [Oracle] would have reached a

24     licensing agreement with the infringer.” SAP AG, 765 F.3d at 1093. And, contrary to Rimini’s

25     assertion, Ms. Dean does connect the benefits to Oracle from a license to its willingness to pay for

26     one. Among other factors, she notes that

27

28                   . Ex. B ¶¶ 149-152. Rimini’s challenges to the factors that Dean considered in making
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 1     this determination go not to her reliability, but at most to the weight of this evidence. Rimini I, ECF

 2     No. 636 at 6.

 3            B.       Ms. Dean’s opinions on causation are admissible.

 4            Ms. Dean opines that,

 5

 6                                             Ex. B at ¶¶ 80-98. Rimini is wrong to assert that “Ms. Dean

 7     discloses no analysis about customer decision making in her report and offers no explanation of

 8     any causal link between Rimini’s alleged infringement and Oracle’s damages.” Rimini Daubert at

 9     21. As Ms. Dean testified at her deposition, her causation opinions were based on her “drawing on

10     the factual evidence” such as “Rimini documents” and applying her expertise. Smith Decl., Ex. 6

11     at 287-288. Contrary to Rimini’s assertion, Ms. Dean’s report cites to testimony and evidence in

12     the record as support for her opinion. Ex. B ¶ 84, n.193 (collecting evidence and testimony).

13            Additionally, her report discusses several factors that contributed to, and explain, her

14     causation analysis.

15                                                   Id. ¶¶ 81-82. Ms. Dean also points to how

16

17                                             Id. ¶¶ 86-90. These considerations based on evidence in the

18     record—and plain common sense—explain Ms. Dean’s opinion that Rimini’s                  pricing model

19     would be a substantial factor in convincing customers to leave Oracle.

20            These opinions are not “ipse dixit assertions,” as Rimini contends, and this case is very

21     different from Bayoh v. Afropunk LLC, 2020 WL 6269300, at *5 (S.D.N.Y. Oct. 26, 2020), on

22     which Rimini relies. In Bayoh, the court excluded an expert’s damages opinion because it

23     concluded that there was a “complete absence of evidence to establish causality.” Id. By contrast,

24     Ms. Dean cited to deposition testimony and other evidence to support her opinion. Barber v.

25     Corizon Health, Inc., 2019 WL 8112500, at *1 (W.D. Pa. May 6, 2019) (declining to exclude

26     experts’ testimony on causation that was based on “a variety of medical, jail records, and deposition

27     testimony” that the experts “then construed” using their “background and experience.”); Boykin v.

28     W. Exp., Inc., No. 12-CV-7428 NSR JCM, 2015 WL 539423, at *6 (S.D.N.Y. Feb. 6, 2015)
                                              20
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 1     (admitting expert testimony on causation based on “ [a] report, witness deposition testimony, a

 2     fairly comprehensive collection of photographs of the damage to the vehicle, the police report,

 3     Plaintiff's medical records, and his years of experience.”)
       IV.     JOHN CAUTHEN’S OPINIONS ANALYZING AND COMPARING RIMINI’S
 4             SYSTEMS SHOULD NOT BE EXCLUDED.
 5              Oracle proffers the expert testimony of former FBI special agent John Cauthen to rebut the

 6     testimony of Rimini’s purported expert Owen Astrachan. Ex. A ¶¶ 1, 5. During his almost 22

 7     years of service with the FBI, Cauthen focused his career on copyright infringement and other

 8     cybercrimes. See id. ¶¶ 5–17. In connection with this work, Cauthen “routinely analyzed technical

 9     and computer evidence to assess the reasons why computer and software tools were designed in

10     certain ways and what they were designed to accomplish.” Id. ¶ 12. These accomplishments more

11     than qualify him to assess the design and function of Rimini’s systems. Nonetheless, Rimini

12     contends Cauthen presented inadmissible testimony about Rimini’s                     and about how

13     Rimini’s practice compares to that typical of support practices for Enterprise Resource Planning

14     (“ERP”) software. Both arguments fail, and each category of Cauthen’s opinions is admissible

15     expert testimony.

16              A.     Cauthen’s substantiated                      is admissible.

17              Rimini moves to exclude Cauthen’s opinions about

18

19                                                                          —which Cauthen testifies are

20     another means of cross-using Oracle’s code. Ex. A ¶ 45. Specifically, Rimini asserts that Cauthen’s

21     technical analysis lacks foundation and is therefore “unreliable.” Rimini Daubert at 9. Not so. The

22     purpose of Cauthen’s

23                                                                                   after Rimini I. See Ex.

24     A ¶ 45

25

26

27          . That analysis was straightforward: he compared the files

28                                                    . See id. ¶ 54 (explaining Cauthen’s comparative
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 1     process). If the files matched, he concluded there was cross-use. See id. ¶¶ 55–62

 2                                                                                                  . Thus,

 3     contrary to Rimini’s argument,

 4

 5            B.      Cauthen is qualified to opine on the ERP support industry.

 6            Rimini also seeks to exclude Cauthen’s testimony that Rimini’s conduct

 7                                     in the ERP support industry because Cauthen testified he is not

 8     specifically an expert in the ERP support industry. Rimini Daubert at 9–10. But one need not have

 9     an expertise specific to the ERP support industry in particular to know what is commonplace or

10     customary in the computer-systems industry in general. See Roman v. W. Mfg., Inc., 691 F.3d 686,

11     692–93 (5th Cir. 2012) (holding that a “district court was within its wide discretion to conclude

12     that the[] offered witnesses had the qualifications to state a reliable opinion” despite their lack of

13     experience in the specific industry at issue); see, e.g., In re Corporate Res. Servs., Inc., 603 B.R.

14     888, 896 (Aug. 22, 2019) (S.D.N.Y. 2019) (holding that an consultant experienced in financial

15     analysis and valuation services could serve as an expert on the value of a business despite “not

16     hav[ing] the expertise of valuing staffing companies or the narrow disputes in this lawsuit,” as “lack

17     of industry-specific experience is not disqualifying”); United States v. Holmes, No. 18-258, 2021

18     WL 2035177, at *3 (N.D. Cal. May 21, 2021) (holding that a doctor “qualified to opine about

19     laboratory practices and clinical pathology generally” could serve as an expert on company’s

20     fingerstick blood testing despite lack of experience specific to that type of test). In Cauthen’s case,

21     being an expert in computer systems and cybercrimes qualifies Cauthen to testify that it not

22     commonplace for ERP support providers

23

24                 Ex. A ¶ 127; see also id. ¶¶ 5–17 (detailing Cauthen’s experience analyzing computer

25     systems). Rimini’s motion as to Cauthen’s opinions should be denied.

26     V.     RIMINI’S CONTENTIONS CONCERNING “STATE OF MIND” OPINION
              TESTIMONY ARE MISPLACED AND OVERBROAD.
27

28            Rimini’s remaining arguments for excluding portions of the opinions of Oracle’s experts
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 1     are based on assertions that they improperly speculate as to the intent, knowledge, or state of mind

 2     of Rimini, its employees, or its customers. But Rimini provides the wrong standard for expert

 3     opinion on these subjects, and its contentions about portions of the opinions of Mr. Pinto, Mr.

 4     Cauthen, and Dr. McDaniel are incorrect or overbroad.

 5            Courts will admit an expert’s testimony as to the intent or knowledge of an organization or

 6     its employees where the testimony is based on the expert’s specialized knowledge and a review of

 7     record evidence, as opposed to “purely speculative opinions on the subjective motivations or beliefs

 8     of employees or executives.” United Food & Com. Workers Loc. 1776 & Participating Emps.

 9     Health & Welfare Fund v. Teikoku Pharma USA, 296 F. Supp. 3d 1142, 1194 (N.D. Cal. 2017);

10     see also In re JUUL Labs, Inc., Mktg. Sales Pracs. & Prod. Liab. Litig., 2022 WL 2343268, at *44

11     n. 50 (N.D. Cal. June 28, 2022) (“courts in the Ninth Circuit have allowed such expert testimony

12     about the actions and motivations of a party when based on industry experience and the review of

13     record evidence.”) (citation omitted). Additionally, an expert can rely on expertise and facts in the

14     record to provide an “opinion that certain actions require or demonstrate a certain mental state.”

15     Beaton v. SpeedyPC Software, 2017 WL 6569630, at *4 (N.D. Ill. Dec. 21, 2017). For example, in

16     United Food & Com. Workers, the court held that expert opinion as to the intent of a company to

17     launch generics was admissible, where the opinion was based on a review of record evidence

18     including “public and non-public comments that were made” and where expert had insights due to

19     “industry experience.” 296 F. Supp. 3d at 1194.

20            A.      Mr. Pinto’s opinion, based on documentary evidence and industry expertise,
                      that customers value Rimini’s massive discounts is admissible.
21

22            Rimini claims that Mr. Pinto’s opinions regarding the effect of

23                                        are opinions concerning customers’ state of mind or motivations

24     and thus should be excluded. But Mr. Pinto’s opinion is not about state of mind or “unexpressed

25     reasons for [customers’] decisions.” Siring v. Oregon State Bd. of Higher Educ. ex rel. E. Oregon

26     Univ., 927 F. Supp. 2d 1069, 1078 (D. Or. 2013); see also Oracle Am., Inc. v. Hewlett Packard

27     Enter. Co., 2018 WL 6511146, at *2 (N.D. Cal. Dec. 11, 2018) (forbidding drawing inference

28     regarding intent or motive). Instead, Mr. Pinto’s opinions are based on (i) documentary evidence
                                             23
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 1     in the record, and (ii) “considerations on which persons in the field generally rely,” which Rimini

 2     agrees are admissible, Rimini Daubert at 15.

 3            First, Mr. Pinto made clear his opinion as an industry expert12 that CIOs of customers “are

 4     generally risk averse and cost sensitive,” and it is an “industry norm” that “most CIOs will not

 5     switch vendors for anything less than a 30% cost savings, assuming an equivalent level of quality.”

 6     Ex. H at 131-32 (discussing hurdle rates of “30 percent to 50 percent,” and opining that “the vast

 7     majority of CIOs would not consider terminating” Oracle support services “without cost savings of

 8     more than 30%”). This opinion is based on his knowledge of the industry and industry documents

 9     he reviewed, and is not about any specific customer’s state of mind. As a result, the opinion is

10     admissible under Oracle, 2018 WL 6511146, at *2, as regarding “the considerations on which

11     persons in the field generally rely.” Rimini Daubert at 15.

12            As noted above, courts have admitted expert testimony regarding the intent of companies

13     (e.g., whether they had decided to launch generics) based on a review of record evidence and

14     “public and non-public comments that were made” where an expert had insights due to “industry

15     experience,” so long as the expert did not opine on what company “executives subjectively decided,

16     thought, believed, or intended.” United Food & Com. Workers, 296 F. Supp. 3d at 1194 (N.D. Cal.

17     2017); see also JUUL Labs, Inc., 2022 WL 2343268, at *44 & n.50 (“courts in the Ninth Circuit

18     have allowed such expert testimony about the actions and motivations of a party when based on

19     industry experience and the review of record evidence”) (citation omitted). Mr. Pinto’s opinions

20     based on the review of record documents and his industry expertise are admissible.

21            Second, again using his industry background, Mr. Pinto describes the information and many

22     thousands of customer documents he reviewed,

23                                                     . Ex. H at 51-53 (citing appendices); see id. at 56

24     (review of Rimini customer documents and depositions).

25                                                                                          id. at 23, 77,

26     and Mr. Pinto also clearly indicated customers whose documents did not reveal as much, see

27     12
         Whether Mr. Pinto’s “experience is an exact fit with the particulars of this case is a matter for
       cross-examination. So is whether he has examined sufficient material to support his opinions.”
28
       Oracle, 2018 WL 6511146, at *2.
                                                     24
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 1     Appendices 3.1, 7.

 2              Finally, Rimini ends its argument by faulting Mr. Pinto for not undertaking a “sensitivity or

 3     elasticity analysis to show how customer decisions to leave Oracle would have been different if

 4     they had received a different discount from Rimini.” Rimini Daubert at 16-17. But Rimini provides

 5     no reason why such an analysis is needed. Mr. Pinto looked at the               discount that Rimini

 6     advertises widely

 7                                                                                Ex. M at 73-74, 77—and

 8     opined                                                         . Indeed,

 9                                          . Rimini also ignores Mr. Pinto’s explanation that “a Customer

10     would not leave their incumbent Vendor for anything less than a 30% savings off of what they were

11     paying for Oracle Maintenance and Support Services,” and that the 30% figure is “quite

12     conservative” and derived “exercising an abundance of caution.” Ex. H at 131-32. This opinion is

13     not “conclusory,” as it is based off Mr. Pinto’s industry experience,

14         and literature regarding CIO practices. Id.

15              B.     Dr. McDaniel’s statements in his opinion are not inadmissible speculation
                       concerning the state of mind of Rimini or its employees.
16

17              Dr. Patrick McDaniel is indisputably qualified to provide expert opinions about Rimini’s

18     deficient security offerings for Oracle licensees. Ex. F ¶¶ 5, 8-18. Rimini’s own security expert, Dr.

19     Aviel Rubin, agrees that Dr. McDaniel is an expert in the fields of computer security software and

20     network security. Smith Decl., Ex. 7 (Rubin Depo.) at 59:15-21.

21              Each of his opinions is grounded in Dr. McDaniel’s expertise in the “field of network and

22     security management, computer systems, authentication, systems security, applied cryptography

23     and network security”—which Rimini does not dispute. Ex. F ¶ 18. And at his deposition, McDaniel

24     stated that he was applying this technical background in rendering his opinions. Smith Decl., Ex. 8

25     (McDaniel Depo.) at 46:16-47:16. He confirmed that “what I’m discussing is whether somebody

26     understood something based on what they said and – and what they’re acting on. I have no idea

27     what their state of mind is” and that his

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 1                                                                            Id. at 47:25-48:13: 250:23-

 2     251:3. Dr. McDaniel’s opinions about Rimini’s security offerings will be helpful to the jury because

 3     he is offering specialized knowledge about Rimini’s inability to provide adequate security to its

 4     customers.

 5            Rimini does not challenge the reliability or relevance of Dr. McDaniel’s opinions. Instead,

 6     Rimini quibbles with certain statements in Dr. McDaniel’s reports that Rimini asserts are improper

 7     expert opinion about the intent, motive, or state of mind of Rimini and its employees. Rimini

 8     Daubert at 1. But the bulk of the opinions challenged by Rimini are not, in fact, opinions about

 9     Rimini’s (or its employee’s) state of mind, but rather examples of Dr. McDaniel applying his

10     expertise in analyzing the record evidence, including admissions by Steven Salaets, Rimini’s Rule

11     30(b)(6) deponent and the testimony of Rimini employees concerning the company’s security

12     policies. Ex. F ¶¶ 5, 75, 105, 107-08, 110-111, 122-24, 158, 162, 170, 175, 176, 207, 212, 220,

13     221, 223, 224 Opinions 5, 6, and 21; Ex. G ¶¶ 8, 18, 24, 28, 72 and 76. Rimini does not provide

14     any argument for excluding these opinions, which are relevant, reliable, and should be admitted.

15            In many of the examples that Rimini cites, Dr. McDaniel is applying his expertise to the

16     facts and evidence of record and opining on what this evidence reveals about

17

18     As one example, Rimini seeks to exclude Dr. McDaniel’s opinion as to how Rimini

19                                                             Ex. F ¶ 75 (emphasis added). But in the

20     preceding paragraph Dr. McDaniel cites numerous examples of the

21

22                                                                 Id. ¶¶ 74, 76. This is a permissible use

23     of specialized knowledge applied by an expert to the facts in the case. United Food & Com.

24     Workers, 296 F. Supp. 3d at 1194.

25            Other opinions that Rimini contends are improper state-of-mind evidence are likewise

26     grounded in admissions by Mr. Salaets and Rimini’s internal documents. These include Dr.

27     McDaniel’s statement that

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                                             26
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 1                                                                   Ex. F ¶ 105; see also ¶¶ 108, 110, 11.

 2     Courts routinely admit similar opinions where an expert is applying expertise to the record

 3     evidence. JUUL Labs, 2022 WL 2343268, at *44 n. 50.

 4            And for many other of Dr. McDaniel’s opinions, he is reaching the conclusion

 5

 6                 Ex. F ¶¶ 124, 158, 162. For these opinions, Dr. McDaniel is not opining on Rimini’s

 7     state of mind. He is instead pointing to the absence of any evidence that Rimini is able to provide

 8     its customers with an effective security offering. See Rimini I, ECF No. 790 (Tr. at 446:1-447:11)

 9     (Ravin admitting that Rimini “can’t provide security patches because we don’t have those parts of

10     source code for Oracle products.”).

11            Finally, Oracle confirms that Dr. McDaniel will not testify to certain of the opinions that

12     Rimini has highlighted in paragraphs 159, 163, 210, 219, 221, and 222 of his opening report, and

13     paragraph 46 of his rebuttal report. See, e.g., Exhibits F and G. This confirmation moots the

14     remainder of Rimini’s challenges to his opinions and warrants the denial of its Daubert motion.

15            C.      Cauthen does not present inadmissible expert testimony on Rimini’s intent,
                      motivation, or state of mind.
16

17            Cauthen’s experience as a former FBI special agent qualifies him to rebut Astrachan’s

18     opinions regarding the design and function of Rimini’s software tools and support practices, as well

19     as Lanchak’s opinions that Rimini’s infringing practices are somehow common and accepted in the

20     industry. Rimini erroneously argues that Cauthen is opining on Rimini’s intent, motive, or state of

21     mind, Rimini Daubert at 3–8, even though Cauthen hews to and rebuts the various “design” and

22     intent opinions proffered by Rimini’s own experts.

23            Rimini disregards its own purported expert testimony when it asks the Court to exclude

24     Cauthen’s opinions that “

25                                                                   Ex. A ¶¶ 134, 137. Rimini expert

26     Astrachan advanced and defended

27

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                                             27
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 1

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 5                Smith Decl., Ex. 9 (Astrachan Report) ¶¶ 19-21.

 6            In rebuttal to these opinions, Cauthen opines that

 7

 8                                       See, e.g., Ex. A ¶ 159

 9

10                                                                                        ).

11            Astrachan—not Cauthen—opened the door for testimony on

12

13

14                                                                                    See, e.g., Smith Decl.,

15     Ex. 9 ¶ 134

16

17                                      . To the extent Astrachan is allowed to testify regarding

18                                                                Cauthen must be allowed to rebut such

19     testimony. See Freteluco v. Smith’s Food & Drug Ctrs., Inc., 2021 WL 183321, at *5 (D. Nev.

20     Jan. 19, 2021) (“The function of rebuttal is to explain, repel, counteract or disprove evidence of the

21     adverse party, and the decision to admit rebuttal testimony is entrusted to the sound discretion of

22     the district court.” (internal quotation marks omitted) (quoting United States v. Luschen, 614 F.2d

23     1164, 1170 (8th Cir.)).

24            Rimini next challenges Cauthen’s opinions regarding Rimini’s

25                         Rimini Daubert at 4-5. Again, however, Rimini ignores its own expert, who

26     opines that                                                                         See Smith Decl.,

27     Ex. 9 ¶¶ 39-42 (

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                                               28
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 1

 2     (emphasis added)). Cauthen rebuts this based on his experience, analysis of

 3                                   . See Ex. A ¶ 159

 4

 5

 6                                                                                                   ). In

 7     this regard, Cauthen outlines and analyzes the evidence demonstrating the

 8

 9                                                                                                . Id. ¶¶

10     159-64.

11            Rimini argues that Cauthen’s opinion that the Rimini I litigation and other events placed

12     Rimini “on notice” that certain of its practices infringed Oracle’s copyrights is an opinion

13     concerning Rimini’s state of mind. In fact, this opinion simply rebuts the opinion of Rimini expert

14     Stephen Lanchak, who opines that the

15                                                                                                 Smith

16     Decl., Ex. 10 (Lanchak Report) ¶ 14. Even assuming Rimini’s practices were widely accepted in

17     the industry—they unquestionably are not, as Cauthen opines based on his industry experience—

18     Rimini cannot rely upon any claimed industry custom or practice given its status as an adjudged

19     infringer. The issue is not Rimini’s state of mind, but rather the viability of Rimini’s industry

20     custom and practice defense. Any attacks on Cauthen’s opinion in this regard “bears on the weight

21     of the expert’s testimony as opposed to its admissibility.” See, e.g., JH Kelly, LLC v. AECOM

22     Tech. Servs., Inc., --- F. Supp. 3d ---, 2022 WL 1817415, at *3 (N.D. Cal. 2022).

23            Rimini next accuses Cauthen of “parroting” the expert opinion of Oracle experts Barbara

24     Frederiksen-Cross and Christian Hicks. Rimini Daubert at 6–8. But Cauthen did not “parrot”

25     Frederiksen-Cross’s or Hicks’s opinions; he used them to develop his own independent opinions.

26     For example, based on the forensic analysis of Rimini’s actual Process 2.0 practices performed by

27     Frederiksen-Cross and Hicks, Cauthen rebuts the                                        opinions of

28     Rimini’s experts. Relying on Hick’s
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 4                                                      See, e.g., Ex. A ¶¶ 38, 41, 63-68. Courts routinely

 5     find such reliance on the expert opinions of others admissible. See Janopoulos v. Harvey L. Walner

 6     & Assocs., Ltd., 866 F. Supp. 1086, 1095 (N.D. Ill. 1994) (“an expert may rely in part on

 7     information supplied by another expert”); see also Nat’l Union Fire Ins. Co. v. Smith Tank & Steel,

 8     Inc., 2014 WL 5794952 (M.D. La. Nov. 6, 2014) (“Consultation with other experts is entirely

 9     permissible under Rule 703.”). In fact, “[i]t is common in technical fields for an expert to base an

10     opinion in part on what a different expert believes on the basis of expert knowledge not possessed

11     by the first expert.” In re: Genetically Modified Rice Litig., 666 F. Supp. 2d 1004, 1033 (E.D. Mo.

12     2009) (quoting Dura Auto. Sys. Of Ind., Inc. v. CTS Corp., 285 F.3d 609, 613 (7th Cir. 2002)).

13            Finally, Rimini claims Cauthen “offers lengthy narratives merely summarizing select record

14     evidence, which he then uses as a basis to speculate about Rimini’s intent, motive, or state of mind.”

15     Rimini Daubert at 8. Rimini does not dispute the facts Cauthen uses to support his opinions about

16     what Rimini and Mr. Ravin were aware of, and there is nothing improper about an expert’s setting

17     forth the facts underlying an opinion. See, e.g., Barlovento, LLC v. AUI, Inc., 2020 WL 6689618,

18     at *4 (D.N.M. Nov. 13, 2020) (stating that an expert witness “must be permitted at least some

19     amount of summarizing of the facts to bring his or her opinions into context,” as when “their

20     opinions require some scene-setting, including some reasonable summary of evidence the jury has

21     already heard”). Rimini’s motion should be denied.

22                                               CONCLUSION

23            For the foregoing reasons, Oracle respectfully requests that the Court deny Rimini’s

24     Daubert motion.

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        DATED: September 30, 2022       MORGAN, LEWIS & BOCKIUS LLP
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                                               Oracle International Corporation and Oracle
 5
                                                              America, Inc.
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                     ORACLE’S RESPONSE TO RIMINI’S DAUBERT MOTION
                       TO EXCLUDE PROPOSED WITNESS TESTIMONY
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 1                                      CERTIFICATE OF SERVICE
 2            I hereby certify that on the 30th day of September, 2022, I electronically transmitted the

 3     foregoing     Case     No.     2:14-cv-01699-MMD-DJA            ORACLE          INTERNATIONAL

 4     CORPORATION AND ORACLE AMERICA, INC.’S RESPONSE TO RIMINI’S

 5     DAUBERT MOTION TO EXCLUDE PROPOSED WITNESS TESTIMONY to the Clerk’s

 6     Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to all

 7     counsel in this matter; all counsel being registered to receive Electronic Filing.

 8

 9             DATED: September 30, 2022            MORGAN, LEWIS & BOCKIUS LLP
10

11                                                  By:             /s/ Benjamin P. Smith
                                                                       Benjamin P. Smith
12
                                                      Attorneys for Plaintiffs and Counterdefendants
13                                                     Oracle International Corporation and Oracle
14                                                                    America, Inc.

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